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                ATT'ACHMEN'I' A _ I. ELA AINA FACTT]AL STIPULATION

        The undersigned porties .\tipulate ond agree lhul i/ this case had proceecled to trial, the
Deporlment unuld hctve proven the -fullov'ing.facts beytsnd o reosonuble doubt. The urulersigned
parlies also stipulote and agree thot t hc .folloving./acts tlo nol encomposs ull ol the evidenc'e that
u,ould huve been presented had this matter proceeded to trial.

       Defendant Fela Aina (-Defendant" or "Aina") was born in Nigeria, and moved to the
United States in or about 20 I 0. From in or about 20 I 0 to in or about 201 9. Aina lived in Albany.
Georgia. From in or about January 20 I 9 Io in or about February 2022. Aina lived in Baltimore
County. Maryland.

        []inancial Inslitutions

        SunTrust Bank ("SunTrust"), JPMorgan Chase Bank ("JP Morgan"). Bank of America
("Bank of America"). Farmers and Merchant Bank ("FMB"). Pentagon Federal Credit Union
("PenFed"), and Wells Fargo Bank NA ("Wells Fargo") were financial institutions as defined in
l8 U.S.C. $ 20. These entities are collectively referred to as the "Financial Institutions." The
Financial Institutions maintained records conceming financial transactions they processed,
including but not limited to records aboul the individuals owning or controlling accounts with the
Financial Institutions, and in some instances. surveillance video and/or images, and information
about the iniormation submitted to open an account.

        'I'he Money Lauadering Conspiracy


        Beginning in or around January 2019. and continuing until in or around Fcbruary 2022.
Aina entered into an illegal agreemenl with Person A and others to conduct and attempt to
conduct Iinancial transactions afl'ecting interstate and fbreign commerce involving the proceeds
of a specified unlawl'ul activity. namely. wire fraud. a violation of l8 U.S.C. $ 1343, knowing
that the transactions were designed in whole'or in part lo conceal and disguise the nature.
location. source. ownership. and control of the proceeds of specified unlawlul activity. and
knowing that the property involved in the transactions represented the proceeds of some fonr of
unlawful activity. in violation ol' I 8 U.S.C. $ 1956(a)( I XB)(i).

        Aina admits that his conspiracy oflense involved (i) laundered funds in the amount ofat
least $550.000. and (ii) sophisticated laundering. This conspiracy olfense included the use of(i)
a shell company. Pinnacle lleight Construction LLC. which Aina created on or about April 4.
2019 to open bank accounts and conceal his receipt and transfer of t'raud proceeds and (ii) an
alias identity, Samson Adeyemi. including purported date ofbirth. social security number. and
driver's license. The shell company and alias assisted the conspiracy by allowing Aina to
receive and transfer fraud proceeds while hiding Aina's identity and that of his co-conspirators.

        In or aboul April 2019, Aina created the business entity Pinnacle Height Construction
Limited Liability Company, and listed Samson Adeyemi as the resident agent. In or about
January 2020. while working in concert with Person A. Aina opened a bank account al SunTrust
in the name Pinnacle Height Construction LI-C, with Samson Adeyemi as the only signatory on
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the account. The SunTrust accounl number ended in I I I 8 (hereinafter "ST I I 18"). When
opening ST I I 18. Aina presented a fake and fictitious Virginia driver's license in Adeyemi's
name, but bearing Aina's picture. Person A had obtained the Virginia driver's license and
provided it to Aina to use when opening ST I I 18. During the approximate time period January
2020 to March 2021. Aina and Person A used ST I I l8 to receive and lranst'er more than
$800.000 of fraud proceeds.

        On numerous instances during this time period. Aina received or deposited funds into ST
lllS that Aina knew represented the proceeds of unlawful activity, and that were. in fact. the
proceeds of wire l'raud. In some instances. Aina conducted financial transactions by depositing
cashier's checks or cash into the accounts at bank branches. ln other instances, funds were wired
or electronically transfened into the account. The proceeds were derived from various fraud
schemes, including wire frauds in which victims received fraudulent emails from look-a-like
email accounts that falsely provided wire instructions to transfer money into co-conspirator bank
accounts. or emails from genuine accounts that had been taken over by co-conspirators through
illegal computer intrusions. In other cases, victims were contacted online and lured through
romance and similar scams into sending money to the bank accounls of purported romantic
partners, individuals in financial distress, or others.

        After receiving and depositing the proceeds ofthe fraud schemes into the ST I I l8
account. Aina conducted and facilitated the conduct by others ofadditional financial transactions
involving the proceeds. including by making cash withdrawals; purchasing money orders and
cashier's checks; and translerring proceeds by wire. electronic transfer. and check to other
accounts at financial institutions. Aina admits that the financial transactions that he and others
conducted involving fraud proceeds, whether deposits into or withdrawals or transfers out ofthe
ST I I l8 account, were designed to conceal or disguise the nature. location. source, ownership.
and control ofthe proceeds. Aina further admits that some ofthese financial transactions
involved crim inally-derived property in excess of$10.000.

Specific Transactions

        Among the financial transactions Aina conducted was the deposit in Baltimore County.
Maryland, on or about March 23, 2020. into ST I I I 8 of a cashier's check in the amount of
$80.000 made payable to Pinnacle Heights [sic] Construction LLC. The cashier's check
represented proceeds fiom a business email compromise scheme in which Victim #l was
fraudulently convinced to wire $265,625 to a Bank of America account. Aina agrees that he
deposited the $80.000 cashier's check knowing that it represented the proceeds ofa specified
unlawful activity. After Aina deposited the fraud proceeds, Aina engaged in multiple financial
transaclions in ST I I I 8, in coordination r.r ith Person A. to gain access to the funds, including
approximately $33,000 in ATM and over the counter cash withdrawals. as well as the purchase
of a $48.000 cashier's check.

        On or about March 9. 2021 . Aina deposited a cashier's check in the amount of $32,000
made payable to Pinnacle Height Construction LLC into ST I I 18. The $32,000 cashier's check
was purchased with funds from a JPM account ending in 3673 ("JPM 3673"). The source of
funds for the $32,000 cashier's check was a fraud in which funds were improperly removed from
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Victim #2's account at PenFed. after an individual used Victim #2's password to gain access to
the account and wire a total of$100.000 to JPM 3673. Aina agrees that he deposited the $32.000
cashier's check knowing that it represented the proceeds ofa specified unlawful activity. After
Aina deposited the fraud proceeds, Aina engaged in multiple financial transactions in ST I I 18.
in coordination with Person A, to gain access to the funds, including cash withdrawals and the
purchase ofa $24.000 cashier's check.

        In or about May 202 l. Aina opened an account al FMB ending in I 642 ("FMB I642").
On or about June 2. 2021 , a $52.00 cashier's check was deposited into FMB I 642. but later
lrozen after a stop payment was issued on the check. The $52.000 originated from Victim #2's
account at PenFed.

Georgia Relevant Conduct

        In or aboul 2020. Victim #3 met a person online who used an alias, Clive Simpson, and
the image of a well-known Australian. Timothy Robarbs. "Simpson" told Victim #3 that he had
worked for Exxon Mobil as a petroleum geologist for the last 20 years. He stated that he had
been married to an Australian woman named Anna, who had died three years ago ofcancer. On
or about April 3,2020. "Simpson" fraudulently convinced Victim #3 to wire $12,000 to a Wells
Fargo account ending in 3622 ("WF 3622"), falsely representing to Victim #3 that the money
would be used for his father's surgery in Sweden. According to Victim #3. she spoke with
"Simpson" on the phone multiple times and. on some of the occasions, "Simpson" used Aina's
cell phone with the last four digits 2869 when talking with Victim #3.

           Beginning in or about 201 8. and continuing for approximately l8 months, Victim #4 met
a person using the name "Melissa McCloud" in an online dating website. While developing an
online relationship with "McCloud," "McCloud" asked Victim #4 to direct money on multiple
occasions to accounts, including at least one account that was registered to Aina. "McCloud"
claimed the money was to help McCloud, who had travelled to lreland to resolve a family
business in lreland following lhe death of McCloud's parents. Over the course ofa year and a
half. Victim #4 sent more than $30.000 to multiple accounts at the direction of McCloud. A
portion of this money flowed into WF 3622. which was controlled by Aina. Aina knowingly
received the funds, u'ith the knowledge and intent that they represented the proceeds of a fraud.

        The defendant specifically admits that the transactions involving Victims #3 and #4 are
relevant conduct for purposes ofthis case. and specifically admits that restitution should be
ordered for their losses.

       I have reviewed the Factual and Advisory Cuidelines Stipulation with my attorney, and I
do not wish to change any part of it. I understand it, and I voluntarily agree to it. I am
completely satisfied with the representation of my attorney.



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